Case 1:24-cv-10049-LJL   Document 1-2   Filed 12/31/24   Page 1 of 6




         Exhibit B
Case 1:24-cv-10049-LJL   Document 1-2   Filed 12/31/24   Page 2 of 6
DocuSign Envelope ID: 6539DC18-33E6-4808-8788-A040AC923718
                     Case 1:24-cv-10049-LJL              Document 1-2           Filed 12/31/24        Page 3 of 6



                     6.       No one will enter, attempt to enter, interrupt, pressure, or request entrance to Artist’s trailer
                              while she is in a state of undress for any reason.

                     7.       There shall be no rehearsal or filming of Artist (including Artist’s approved body double)
                              of any nudity, partial nudity and/or simulated sex except as expressly permitted in
                              accordance with the Nudity Rider. Any such footage of Artist (or Artist’s body double)
                              previously shot without the Nudity Rider in place may not be used without Artist’s and her
                              legal representatives’ prior, written consent.

                     8.       Artist may have a representative of her choosing present with her on set for the remainder
                              of the rehearsal and shooting days, including while on a closed set.

                     9.       If Artist is exposed to COVID-19, she must be provided notice as soon as possible after
                              Wayfarer or any producer or production executive becomes aware of such exposure.

                     10.      There shall be no retaliation of any kind against Artist for raising concerns about the
                              conduct described in this letter or for these requirements. Any changes in attitude, sarcasm,
                              marginalization or other negative behavior, either on set or otherwise, including during
                              publicity and promotional work, as a result of these requests is retaliatory and unacceptable,
                              and will be met with immediate action.

                     11.      Except as otherwise agreed by Artist, while Artist is on set, Sony must have a mutually-
                              approved representative (Ange Giannetti is hereby approved) on set for the remainder of
                              the rehearsal and shooting days, including on a closed set, to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues.

                     12.      Wayfarer will engage an additional, experienced A-level producer, approved by Artist
                              (Todd Black is hereby approved) (the “Approved Producer”), to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues provided that
                              Company shall have the right to approve the agreement with the Approved Producer.

                     13.      Wayfarer must empower any existing third party producer with appropriate and customary
                              authority to actively supervise the production, including monitoring the safety of the cast
                              and crew, ensuring compliance with the schedule and overseeing logistics, problem solving
                              and creative issues.

                     14.      Wayfarer will engage an A-list stunt double, approved by Artist (Lauren Shaw approved
                              as stunt double), to rehearse and perform any scenes involving the character “Lily” that
                              depicts rape or any act of sexual violence. Artist will only perform close-up work or other
                              pre-approved shots for such scenes. In addition, Wayfarer to engage Artist-approved body
                              doubles for both characters (i.e., “Lily” and “Ryle”) for all simulated sex scenes (Cole
                              Mason approved as body double for “Ryle”). Wayfarer will use reasonable good faith
                              commercial efforts to engage the same Artist-approved individual as Artist’s body double
                              and stunt double.

                     15.      Any rehearsal or shooting involving Artist, or any other performer depicting the character
                              of “Lily,” that involves nudity (including partial nudity) or simulated sex must be
                              conducted strictly in accordance with the Nudity Rider and must adhere to the final, Artist-
                              approved script. For the avoidance of doubt, there will be no use of footage in the Picture




                                                                                     Doc ID: a03c41e174de32bb29130ca60a9b87e28b02e70e
Case 1:24-cv-10049-LJL   Document 1-2   Filed 12/31/24   Page 4 of 6
DocuSign Envelope ID: 6539DC18-33E6-4808-8788-A040AC923718
                     Case 1:24-cv-10049-LJL             Document 1-2        Filed 12/31/24   Page 5 of 6



                                                              Schedule I
                                                             Nudity Rider




                                                                               Doc ID: a03c41e174de32bb29130ca60a9b87e28b02e70e
Case 1:24-cv-10049-LJL   Document 1-2   Filed 12/31/24   Page 6 of 6
